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ATTORNEYS FOR
DEBTORS-IN-POSSESSION

                       UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF WYOMING

In re:                                                Case No. 24-20138
                                                      Chapter 11 (Subchapter V)
BOTW HOLDINGS, LLC

             Debtor

                                                      Case No. 24-20141
In re:                                                Chapter 11 (Subchapter V)

HUSKEMAW OPTICS, LLC

             Debtor

                                                      Case No. 24-20142
In re:                                                Chapter 11 (Subchapter V)

BEST OF THE WEST
PRODUCTIONS, LLC                                      Jointly Administered Under
                                                      Case No. 24-20138
             Debtor

  GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
REGARDING DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND
            STATEMENTS OF FINANCIAL AFFAIRS



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         Debtors BOTW Holdings, LLC (“Holdings”), Huskemaw Optics, LLC

(“Huskemaw”), and Best of the West Productions, LLC (“Productions”) (collectively, the

“Debtors”), debtors and debtors-in-possession in the above-captioned chapter 11 cases, with

the assistance of its management, professionals, and advisors, have filed their Schedules of

Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the

“Statements,” and together with the Schedules, the “Schedules and Statements”) with the

United States Bankruptcy Court for the District of Wyoming (the “Bankruptcy Court”)

pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and

Rule 1007 of the Federal Rules of Bankruptcy.

         These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’

Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)

pertain to, are incorporated by reference in, and comprise an integral part of the Debtors’

Schedules and Statements.

         The Schedules and Statements do not purport to represent financial statements

prepared in accordance with Generally Accepted Accounting Principles in the United States

(“GAAP”), nor are they intended to be fully reconciled with the financial statements of the

Debtors (whether publicly filed or otherwise). Additionally, the Schedules and Statements

contain unaudited information that is subject to further review and potential adjustment and

reflect the Debtors’ reasonable efforts to report the Debtors’ assets and liabilities.



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         In preparing the Schedules and Statements, the Debtors relied upon information

derived from their books and records that was available at the time of preparation. Although

the Debtors have made reasonable efforts to ensure the accuracy and completeness of such

financial information, inadvertent errors or omissions, as well as the discovery of conflicting,

revised, or subsequent information, may cause material changes to the Schedules and

Statements.

         The Debtors and their officers, employees, agents, attorneys, and advisors do not

guarantee or warrant the accuracy or completeness of the data that is provided in the

Schedules and Statements and shall not be liable for any loss or injury arising out of or

caused in whole or in part by the acts, omissions, whether negligent or otherwise, in

procuring, compiling, collecting, interpreting, reporting, communicating, or delivering the

information contained in the Schedules and Statements. Except as expressly required by the

Bankruptcy Code, the Debtors and their officers, employees, agents, attorneys, and advisors

expressly do not undertake any obligation to update, modify, revise, or re-categorize the

information provided in the Schedules and Statements or to notify any third party should the

information be updated, modified, revised, or re-categorized. The Debtors, on behalf of

themselves, their officers, employees, agents, and advisors disclaim any liability to any third

party arising out of or related to the information contained in the Schedules and Statements

and reserve all rights with respect thereto.



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              The Schedules and Statements have been signed by Chase Myers. Chase Myers is

the Manager of Stryk Group Holdings, LLC, which is the majority member of Holdings, and

he is also the Chief Operating Officer of Holdings. In reviewing and signing the Schedules

and Statements, Chase Myers relied upon the efforts, statements, and representations of the

Debtors’ other personnel and professionals. Chase Myers has not personally verified the

accuracy of each such statement and representation, including, for example, statements and

representations concerning amounts owed to creditors and their addresses.

         Indeed, Chase Myers’ (and Stryk Group Holdings, LLC) involvement with the

Debtors only began in August of 2023. Prior to that point in time, the Debtors were owned

and managed by different individuals/entities. Chase Myers has used his best efforts in

consulting the Debtors’ employees, professionals, and advisors to gauge the precise financial

posturing of the Debtors and prepare the Schedules and Statements.               Given these

circumstances, the Debtors again disclaim any representations, warranties, or assurances as

to the accuracy or completeness of the Schedules and Statements and reserve their right to

amend these documents.

         1.       Reservation of Rights. Reasonable efforts have been made to prepare and file

complete and accurate Schedules and Statements; however, inadvertent errors or omissions

may exist. The Debtors reserve all rights to amend or supplement the Schedules and

Statements from time to time, in all respects, as may be necessary or appropriate, including,

without limitation, the right to amend the Schedules and Statements with respect to claim

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(“Claim”) description or designation, dispute or otherwise assert offsets or defenses to any

Claim reflected in the Schedules and Statements as to the amount, liability, priority, status, or

classification, subsequently designate any Claim as “disputed,” “contingent,” or

“unliquidated,” or object to the extent, validity, enforceability, priority, or avoidability of any

Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”

“contingent,” or “unliquidated” does not constitute an admission by the Debtors that such

Claim or amount is not “disputed,” “contingent,” or “unliquidated.”

         Listing a Claim does not constitute an admission of liability by the Debtors.

Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of

rights with respect to the Debtors’ chapter 11 case, including, without limitation, issues

involving Claims, defenses, equitable subordination, recharacterization, and/or causes of

action arising under the provisions of chapter 5 of the Bankruptcy Code and any other

relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of

rights contained elsewhere in the Global Notes does not limit in any respect the general

reservation of rights contained in this paragraph. Notwithstanding the foregoing, the Debtors

shall not be required to update the Schedules and Statements unless ordered to do so by the

Bankruptcy Court.

         2.       Description of Case and “as of” Information Date.

         The Debtors each filed separate, voluntary petition for relief pursuant to chapter 11 of

the Bankruptcy Code and elected to proceed pursuant to Subchapter V of chapter 11 of the

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Bankruptcy Code in the United States Bankruptcy Court for the District of Wyoming (the

“Bankruptcy Court”) on the following dates:

                         Debtor                                    Petition Date

                        Holdings                                  April 19, 2024

                       Huskemaw                                   April 21, 2024

                       Productions                                April 22, 2024



Unless otherwise stated, asset and liability information is as of the applicable Petition Date.

         3.       Summary of Significant Reporting Policies. Debtors adopted the following

conventions in preparing the Schedules and Statements.

              a. Book Value. The Debtors assert that it could prove to be expensive, unduly
                 burdensome, and an inefficient use of estate assets for the Debtors to obtain
                 current market valuations for all its assets in light of the unique nature of their
                 assets, to wit, specialized shooting systems that use specific components
                 unique to the Debtors’ brand. To the extent such a valuation becomes
                 required, the Debtors believe that creditors would be better served if a court-
                 appointed professional was retained for such a purpose as their valuation
                 determinations could have meaningful implications in these jointly-
                 administered cases. Accordingly, unless otherwise noted, each asset and
                 liability of Debtors is as shown on the basis of the book value of the asset or
                 liability in accordance with Debtors’ accounting records as of the applicable
                 Petition Date.

              b. Currency. All amounts are reflected in U.S. Dollars.

              c. Assets. Assets listed within the Schedules and Statements are presented
                 without consideration of any liens including, but not limited to, materialman’s
                 or mechanic’s liens, that may attach (or have attached) to such assets.

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              d. Causes of Action. Debtors have not necessarily set forth all claims or causes
                 of action against third parties as assets in the Schedules and Statements.
                 Debtors reserve all of their rights with respect to any such claims or causes of
                 action they may have, and neither these Global Notes nor the Schedules or
                 Statements shall be deemed a waiver of any such causes of action.

              e. Secured Claims. Debtors reserve their rights to dispute or challenge the
                 validity, perfection or immunity from avoidance of any lien purported to be
                 granted or perfected in any specific asset to a secured creditor listed on
                 Schedule D. Moreover, Debtors reserve all rights to dispute or challenge the
                 secured nature of any such creditor’s claim or the characterization of the
                 structure of any such transaction or any document or instrument (including
                 without limitation, any intercompany agreement) related to such creditor’s
                 claim. Furthermore, secured claim amounts have been listed on Schedule D
                 without regard to the value of assets secured thereby. Debtors made no
                 attempt to estimate the fair market value as of the Petition Date of assets
                 pledged pursuant to a secured obligation. Accordingly, deficiency claims of
                 secured creditors were not listed on Schedule E/F Part 2 and such omission is
                 not an admission by Debtors as to the sufficiency of collateral related to any
                 secured claim listed on Schedule D. The descriptions provided in Schedule D
                 are intended only to be a summary. Reference to the applicable loan
                 agreements and related documents is necessary for a complete description of
                 the collateral and the nature, extent and priority of any liens. Nothing in the
                 Global Notes or the Schedules and Statements shall be deemed a modification
                 or interpretation of the terms of such agreements.

              f. Priority Claims. Priority claims related to various tax obligations have been
                 listed on Schedule E/F Part 1. Moreover, although Debtors may have
                 scheduled claims of various creditors as priority claims, Debtors reserve all
                 rights to dispute or challenge the priority treatment of any such creditor’s
                 claim (or portion thereof) or the characterization of the structure of any such
                 transaction or any document or instrument related to such creditor’s claim.
                 While reasonable efforts have been made, determination of the date upon
                 which each claim in Schedule E/F Part 1 was incurred or arose would be
                 unduly burdensome and cost prohibitive, and therefore, Debtors may not list a
                 date for each claim listed on Schedule E/F Part 1.

              g. Intellectual Property Rights. The exclusion of any intellectual property rights
                 or interests shall not be construed as an admission that such intellectual
                 property rights or interests have been abandoned, terminated, assigned,
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                  expired by their terms, or otherwise transferred pursuant to a sale, acquisition,
                  or other transaction. Conversely, inclusion of certain intellectual property
                  rights or interests shall not be construed to be an admission that such
                  intellectual property rights or interests have not been abandoned, terminated,
                  assigned, expired by their terms, or otherwise transferred pursuant to a sale,
                  acquisition, or other transaction. Debtors reserve all rights with respect to the
                  legal status of any and all such intellectual property rights or interests.

         4.       Disputed, Contingent, and/or Unliquidated Claims. Schedules D and E/F

permit Debtors to designate a claim as disputed, contingent and/or unliquidated. A failure to

designate a claim on any of the Schedules as disputed, contingent and/or unliquidated does

not constitute an admission that such claim is not subject to objection by Debtors. Debtors

reserve the right to dispute, or assert offsets or defenses to, any claim reflected on the

Schedules as to amount, liability or status.

         5.       Recharacterization. Notwithstanding the Debtors’ reasonable efforts to

properly characterize, classify, categorize, or designate certain Claims, assets, executory

contracts, unexpired leases, and other items reported in the Schedules and Statements, the

Debtors may, nevertheless, have improperly or inadvertently characterized, classified,

categorized, designated, or omitted certain items. Accordingly, the Debtors reserve all of

their rights to recharacterize, reclassify, recategorize, redesignate, add, or delete items

reported in the Schedules and Statements at a later time as is necessary or appropriate as

additional information becomes available, including, without limitation, whether contracts or

leases listed herein were deemed executory or unexpired as of the applicable Petition Date

and remain executory and unexpired postpetition.

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         6.       Global Notes Control. In the event that the Schedules and/or Statements

differs from the foregoing Global Notes, the Global Notes shall control.

Dated: June 11, 2024                       Respectfully submitted,

                                           MARKUS WILLIAMS YOUNG &
                                           HUNSICKER LLC

                                           By: /s/ Bradley T. Hunsicker
                                           Bradley T. Hunsicker (Wyoming Bar No. 7-
                                           4579)
                                           2120 Carey Avenue, Suite 101
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                                           Counsel for the Debtors and Debtors-In-
                                           Possession




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2024, I caused a true and correct copy of the
foregoing GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
REGARDING DEBTORS’ SCHEDULES OF ASSETS AND LIABILITIES AND
STATEMENTS OF FINANCIAL AFFAIRS to be served, electronically, upon the parties
indicated below via the Court’s CM/ECF system:

Jen Godonis on behalf of Creditor First Bank of Wyoming
jgodonis@crowleyfleck.com, twillingham@crowleyfleck.com

Joli A Lofstedt
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Daniel J. Morse on behalf of U.S. Trustee US Trustee
daniel.j.morse@usdoj.gov

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Timothy L. Woznick on behalf of Creditor First Bank of Wyoming
twoznick@crowleyfleck.com, twillingham@crowleyfleck.com

                                               /s/ Bradley T. Hunsicker
                                               Bradley T. Hunsicker




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